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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

ANNE BANNON, Individually, and                                 )
ex rel. UNITED STATES OF AMERICA                               )      No. 00 C 7036
and THE STATES OF ILLINOIS,                                    )
                                                               )      Judge Lindberg
                                       Relators,               )
                                                               )
                       v.                                      )
                                                               )
EDGEWATER MEDICAL CENTER; DR.                                  )
ANDREW CUBRIA; DR. RAVI BARNABAS;                              )
UNIVERSAL GERIATRIC SERVICES, INC.;                            )
ANTHONY TODD; THE WELLNESS                                     )
INSTITUTE, INC.; DR. KRISHNASWAMI                              )
SIRIRAM; TWO HUNDRED PHARMACY, INC.,;                          )
JEFF W. VEAL; DOCTORS HOSPITAL OF                              )
HYDE PARK, INC.,                                               )
                                                               )
                                       Defendants.             )

                                 UNITED STATES MOTION
                               TO AMEND JUDGMENT ORDER

       The United States of America, by Patrick J. Fitzgerald, United States Attorney for the

Northern District of Illinois, seeks to amend this court’s order of September 28, 2006, and in support

of which states as follows:

       1.      This qui tam action was filed on November 8, 2000 and was unsealed on May 1, 2002

after the United States declined to intervene in the action.

       2.      On September 28, 2006, this court entered a conditional order of dismissal without

prejudice in this cause which will become a dismissal with prejudice if the case is not reinstated

within 90 days of the date of that order.

       3.      Pursuant to 31 U.S.C. § 3730(b)(1), the United States consents to the dismissal of this


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action with prejudice as to the relator, so long as the dismissal is without prejudice to the United

States.

          WHEREFORE, the United States asks that this court’s order of September 28, 2006 be

amended to reflect that the dismissal is without prejudice as to the United States.

                                              Respectfully submitted,

                                              PATRICK J. FITZGERALD
                                              United States Attorney

                                              By: /s/ Linda A. Wawzenski
                                                 LINDA A. WAWZENSKI
                                                 Assistant United States Attorney
                                                 219 South Dearborn Street
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                                                 (312) 353-1994




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                                CERTIFICATE OF SERVICE

        The undersigned Assistant United States Attorney hereby certifies that in accordance with
FED . R. CIV . P. 5, LR5.5, and the General Order on Electronic Case Filing (ECF), the following
documents:
                     UNITED STATES MOTION TO AMEND JUDGMENT ORDER

were served pursuant to the district court’s ECF system as to ECF filers, if any, and were sent by
first-class mail on June 21, 2006, to the following non-ECF filers:

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                                                    /s Linda A. Wawzenski
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